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WACHTELL, liPTON, ROSEN & KATZ

   Steve Krantz, Esq.
   September 27,2006
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   that also achieves your enforcement goals. We also appreciate that, as you told me by phone on
   September 11, your office is still considering, and has not yet reached a decision as to, ce1tain of
   our other proposals.

                   We are concemed, however, about the number and importance of the still open is-
   sues relating to the AOD, including:

                  •   Findings: The draft you sent us does not contain any findings. We have yet
                      to see a copy of any proposed findings, which, as we have explained, could
                      threaten our ability to reach an agreement even if we were able to resolve all
                      other open issues.
                  •   Chain Pharmacy Warehouses: The draft that you sent us still imposes unde-
                      fined obligations to perform "due diligence" with respect to chain pharmacy
                      warehouses. As we haye explained to you, certain chain pharmacies refuse to
                      allow any sort of iutmsive inspection by Cardinal or to make certifications.
                      And these large, legitimate customers can of course take their billions upon
                      billions of dollars in business to any wholesaler in the country. Thus, any un-
                      realistic proposal in this area will simply mean that none of the laudable en-
                      forcement goals of the AOD will be implemented with respect to such chain
                      pharmacy operations.
                  •   Certifications as to Cardinal's Customers: The draft AOD also requires a cer-
                      tification from all of Cardinal's customers as to their sales of prescription
                      pharmaceuticals. You have not explained how retail pharmacies present such
                      a grave risk of diversion that Cardinal should accept the responsibility for ob-
                      taining such certifications from over 33,000 customer locations. As we ex-
                      plained previously, these costs would be prohibitive and are out of proportion
                      to any demonstrable risk that such locations would engage in illegal price di-
                      version. We believe it is much more appropriate, in light of the known facts,
                      to limit the scope of certifications to Cardinal's wholesaler and closed-door
                      pharmacy customers.
                  •   Tem1: The AOD does not include any changes to the term and most-favored-
                      nation provision. We look forward to hearing your response to the proposals
                      regarding the term provisions that we made in my letter of September 5, 2006.
                  •   Amount of Monetary Payment: This'item also remains unresolved. To reiter-
                      ate Cardinal's position: At our August 22 meeting, we offered to pay
                      $2.5 million to the State of New York, $4.5 million to Health Research, Inc.,
                      and $1 million for the costs of investigation.
                  •   Description of Monetary Payment: In the draft you sent us, the description of
                      Health Research, Inc. identifies it with New York State or its subdivisions
                      three times and nowhere mentions that HRl transfers "health care" technol-
                      ogy. As we have repeated many times, we ·do not believe that Cardinal owes




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